Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 1 of 18 PageID# 21




                                                  3:21cv00332
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 2 of 18 PageID# 22
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 3 of 18 PageID# 23
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 4 of 18 PageID# 24
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 5 of 18 PageID# 25
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 6 of 18 PageID# 26
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 7 of 18 PageID# 27
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 8 of 18 PageID# 28
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 9 of 18 PageID# 29
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 10 of 18 PageID# 30
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 11 of 18 PageID# 31
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 12 of 18 PageID# 32
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 13 of 18 PageID# 33
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 14 of 18 PageID# 34
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 15 of 18 PageID# 35
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 16 of 18 PageID# 36
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 17 of 18 PageID# 37
Case 3:21-cv-00332-DJN Document 1 Filed 05/21/21 Page 18 of 18 PageID# 38
